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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                  Plaintiff,
                                           Case No. 14-20273
vs.                                        HON. GEORGE CARAM STEEH

JOHNNY TROTTER, II, M.D.,

              Defendant.
___________________________/

                ORDER DENYING DEFENDANT’S MOTION
                  TO COMPEL DISCOVERY (DOC. 202)

      This matter is presently before the Court on defendant Johnny

Trotter, II, M.D.’s motion to compel discovery. (Doc. 202). Trotter was

convicted of conspiracy to commit health care fraud or wire fraud and three

counts of health care fraud on April 28, 2017. (Doc. 174). The

Government filed a Motion to Revoke Bond on June 28, 2017. (Doc. 198).

The Government relies on testimony from confidential informants to argue

that defendant is a danger to the community because he is illegally

prescribing controlled narcotics. This testimony is summarized in the

Government’s Sealed Memorandum in Support of its Motion to Revoke

Bond. (Doc. 199). Prior to responding to the Government’s motion,

defendant moved to compel related discovery. (Doc. 202). He seeks the
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names of the confidential informants, their statements, and all interview

notes, reports, and recordings.

      “The Government has the privilege ‘to withhold from disclosure the

identity of persons who furnish information of violations of the law to

officers charged with enforcement of that law.’” United States v. Poulsen,

No. CR2-06-129, 2008 WL 928566, at *2 (S.D. Ohio, Apr. 7, 2008) (quoting

Roviario v. United States, 353 U.S. 53, 59 (1957)). “To overcome this

privilege, a defendant must ‘show how disclosure of the informant would

substantively assist his defense’ or ‘that disclosure is essential to a fair

trial.’” Id. (quoting United States v. Moore, 954 F.2d 379, 381 (6th Cir.

1992)). “A defendant's ‘mere conjecture or supposition about the possible

relevancy of the informant's testimony’ is not enough to warrant disclosure.”

Id. (quoting United States v. Sharp, 778 F.2d 1182, 1187 (6th Cir.1985)).

      These rules were “crafted in the context of a defendant’s right to a fair

trial.” Id. Trotter, however, seeks discovery in the context of bond

revocation hearing. The Poulsen court recognized that bond revocation

hearings allow “far fewer procedural protections” than a trial. “For example,

the Federal Rules of Evidence do not apply at bond hearings and courts

therefore may base their detention decisions on hearsay evidence.” Id.

(internal citations omitted).


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      Trotter fails to overcome the Government’s privilege. He merely

moves for discovery “[i]n order to properly refute the allegations in the

Government’s Motion.” (Doc. 202 at PageID 4451). He has not shown

how disclosure of the informant(s) would substantively assist his defense or

that disclosure is essential. Trotter also argues that “the Government’s

Motion is based on nothing more than stale hearsay.” (Doc. 202 at PageID

4450). To the extent that Trotter relies on this argument to compel

discovery, as opposed to refuting the Motion to Revoke Bond, the

argument fails. It does not assist in showing substantive assistance or that

disclosure is essential. Further, the Federal Rules of Evidence do not

apply at bond hearings, Poulsen, 2008 WL 928566, at *2, and therefore,

the court may consider hearsay.

      For the reasons stated above, Trotter’s Motion to Compel Discovery

is DENIED.

      IT IS SO ORDERED.

Dated: July 12, 2017

                                    s/George Caram Steeh
                                    GEORGE CARAM STEEH
                                    UNITED STATES DISTRICT JUDGE




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                               CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                     July 12, 2017, by electronic and/or ordinary mail.

                                   s/Marcia Beauchemin
                                       Deputy Clerk




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